                          Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 1 of 29

 AO 442 (Rev. 11111) Arrest Warrant




                                                 UNITED STATES DISTRICT COURT
                                                                           for the

                                                                District of Columbia

                       United States of America
                                     v.
                                                                             )    Case: 1:24-mj-00020
                   Michael Gerard Fournier                                  j Assigned To: Judge Moxila.A. Upadhyaya
                                                                            ) Assign. Date .:01119/2024
                                                                            ) Oescfiiption: COMPLAINT W/ARREST WARRANT
                                                                            )
                                 Defendant


                                                           ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                Michael Gerard Fournier
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        o Superseding Indictment    o Information CI Superseding Information                                        N Complaint
o Probation Violation Petition    o Supervised Release Violation Petition o Violation Notice                                       0 Order of the Court
This offense is briefly described as follows:

 18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
 Lawful Authority;
  18 U.S.c. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restrict Building or Grounds;;
  40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building or Grounds; and;
   40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Buidling.

Date: --~~~~--
          01119/2024
                                                                                                     (/1d. (fed---
                                                                                                     Issuing officer's signature

City and state:                      Washington, D.C.                                 Moxila A. Upadhyaya,         U.S. Magistrate Judge
                                                                                                      Printed name and title


                                                                       Return

           This warrant was received on (date)          Iq JAN 2--01..Lt         , and the person was arrested on (date)           7..7.-..1 AN   202.'"1
at (city and state)       Po r-\-lo   Mb  f\(~




Date:    'l-7... JAN      '2.-02.4




                                                                                                     IPrinted narhe and title
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 2 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 3 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 4 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 5 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 6 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 7 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 8 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 9 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 10 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 11 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 12 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 13 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 14 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 15 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 16 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 17 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 18 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 19 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 20 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 21 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 22 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 23 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 24 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 25 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 26 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 27 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 28 of 29
Case 1:24-mj-00020-MAU Document 6 Filed 01/23/24 Page 29 of 29
